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    EXHIBIT 3
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From:             Dell, Rebecca (USANYS)
To:               Dell, Rebecca (USANYS); Wikstrom, Derek (USANYS); Swett, Sebastian (USANYS)
Subject:          2024.07.25 Call with James Croissette
Date:             Thursday, July 25, 2024 5:45:13 PM


2024.07.25 Call with James Croissette, Sheb Swett, Derek Wikstrom, Mike Maniscalco, Rebecca Dell

       JC does not recall conducting the border search of Fokin; JC was part of a team that
       conducted an advanced media exam; during an advanced media exam, Fokin’s phone was
       hooked up to a cellebrite, which generally creates an xml file which, when downloaded,
       creates an excel file; the resulting excel file contains contacts, call logs, messages, and, if they
       get lucky, whatsapp messages; in addition to cellebrite, advanced media team sometimes
       takes screenshots of phone contents that are not pulled by the cellebrite, including telegram
       messages
              When shown USAO_00007757-00007757, JC said this was consistent with the types of
              reports generated by cellebrite
       During advanced media search, subject does not know his phone is being hooked up
       After an advanced media search is conducted, an electronic media report is created; JC sent
       us the one in this case; James Sanchez created the EMR while JC did extraction
       During a basic exam of a laptop, agents open laptop and click through it; they take
       screenshots only if there is something pertinent


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From:          CROISSETTE, JAMES M
To:            Dell, Rebecca (USANYS)
Cc:            Swett, Sebastian (USANYS); Wikstrom, Derek (USANYS); Maniscalco, Michael (NY) (FBI)
Subject:       [EXTERNAL] Re: Discussion re: imaging of Fokin"s phone
Date:          Thursday, July 25, 2024 5:22:35 PM
Attachments:   image001.png
               image002.png



BRIAN BECK 09/21/2021 09:44      

On August 16, 2021, subject Evgeny FOKIN (DOB: 12/24/1962), arrived at JFK
International Airport via Aeroflot flight SU102 from Moscow Russia. Subject presented
valid Russian passport 531227831 alongside valid United States B1/B2 visa. Subject was
referred to Passport Control Secondary as a match to TECS record P4F18444400C96.
Subject is of interest to New York FBI due to his ties with the Russian Government and
his frequent dealing with Russian and United States Government entities. Subject was
found to be in possession of one cell phone, Apple iPhone 12 Mini (Model: MG8V3LL/A,
S/N: C7CDP0HL0GRV, IMEI: 353008115815439) and one laptop Lenovo ThinkPad X (S/N:
R9-010ENV IMEI: 35398005000478). CBP conducted an electronic media search due to
National Security. EVGENY FOKIN is employed by Oleg Deripaska-associated company
EN+ Group as the head of its "international cooperation" division. According to open
sources, in April of 2018 EN+ Group and Basic Element were among the Russian entities
which were sanctioned by the US Department of Treasury in response to Russian
interference in the US elections, violence in Ukraine and other matters. Prior to his work
for Deripaska-owned/associated companies, Fokin was a Russian diplomat who was
stationed in San Francisco as well as Washington, DC in or around the 1990's. According
to open sources, Fokin may have been affiliated with the Russian Foreign Intelligence
Service (SVR) while stationed in Washington, DC. SCBPO Yousuf was advised of the
search of subject's electronic media prior to the examination but was not present during
the exam due to operational needs. Subject voluntarily presented his cell phone, Apple
iPhone 12 Mini (Model: MG8V3LL/A, S/N: C7CDP0HL0GRV, IMEI: 353008115815439) and
laptop Lenovo ThinkPad X (S/N: R9-010ENV IMEI: 35398005000478). in the powered on
and unlocked position. The cellular service and data connections were disabled by
placing both the cell phone and laptop in the airplane mode prior to the review of both
devices. CBPO Croissette conducted a basic exam on the subject's Apple iPhone 12
Mini (Model: MG8V3LL/A, S/N: C7CDP0HL0GRV, IMEI: 353008115815439) and the
subject's laptop Lenovo ThinkPad X (S/N: R9-010ENV IMEI: 35398005000478) at 1730
hours and concluded at 1810 hours. Due to the extend and nature of Fokin's activities in
the United States and in Russia and, if confirmed that the subject was travelling to the
U.S for an illicit purpose, he would be deemed inadmissible to the U.S under INA 212
7(a) 1, therefore an Advance media exam was requested, and approved by Watch
Commander Huss. CBPO Croissette conducted an advance media exam on the
subject's Apple iPhone 12 Mini (Model: MG8V3LL/A, S/N: C7CDP0HL0GRV, IMEI:
353008115815439 at 1810 hours and concluded at 1905 hours. The Advance media

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exam was successful.Information was uploaded to port event 39332222 and the copy
being temporarily stored to assist in uploading the information into a CBP system was
destroyed. No derogatory information was discovered, however, a copy of the
information from the electronic device(s) was determined to be of significant law
enforcement interest, given the totality of the circumstances. Both devices were
returned to the subject at 1910 hours. Subject was provided with an Inspection of
Electronic Devices tear sheet and was admitted as a B1- visitor.      




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